      Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 1 of 12



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

GREGORY AND MICHELLE                           *
SANTANGELO,                                    *
                                               *
        Plaintiffs,                            *       Civil Action No.: 2:18-cv-11263
                                               *
v.                                             *       Judge Martin L.C. Feldman
                                               *
OMNI HOTELS MANAGEMENT                         *       Magistrate Judge Janis van Meerveld
CORPORATION, et al.                            *
                                               *
        Defendant/ Third-Party Plaintiff.      *
                                               *
*       *      *       *       *       *       *       *      *       *       *       *       *     *


                            STIPULATED PROTECTIVE ORDER

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the following Protective

Order is issued to govern certain disclosures in this case:

     1. Scope. All materials produced or adduced in the course of discovery, including initial

        disclosures, responses to discovery requests, deposition testimony and exhibits, and

        information derived directly therefrom (hereinafter collectively “documents”), shall be

        subject to this Order concerning Confidential Information as defined below. This Order is

        subject to the Local Rules of the Eastern District of Louisiana and the Federal Rules of

        Civil Procedure on matters of procedure and calculation of time periods.

     2. Confidential Information. As used in this Order, “Confidential Information” means

        information designated as “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

        by the producing party that falls within one or more of the following categories: (a)

        information prohibited from disclosure by statute; (b) information that reveals trade secrets;

        (c) research, technical, commercial or financial information that the party has maintained

                                            Page 1 of 11
 Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 2 of 12



   as confidential; (d) medical information concerning any individual; (e) personal identity

   information; (f) internal policies, procedures, and/or other documents relating to internal

   operations or management of the Omni Riverfront Hotel; (g) information received in

   confidence from third parties; and/or (h) personnel or employment records of a person who

   is not a party to the case. Information or documents that are available to the public may

   not be designated as Confidential Information.

3. Designation.

      a. Procedure. A party may designate a document as Confidential Information for

          protection under this Order by placing or affixing the words “CONFIDENTIAL -

          SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a

          manner that will not interfere with the legibility of the document. As used in this

          Order, the term “copies” includes electronic images, duplicates, extracts,

          summaries or descriptions that contain the Confidential Information. The marking

          “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied

          prior to or at the time that the documents are produced or disclosed. Applying the

          marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a

          document does not mean that the document has any status or protection by statute

          or otherwise except to the extent and for the purposes of this Order. Any copies

          made    of   any   documents     marked    “CONFIDENTIAL          -SUBJECT      TO

          PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

          databases or lists of documents that do not contain substantial portions or images

          of the text of marked documents and do not otherwise disclose the substance of the

          Confidential Information are not required to be marked.



                                      Page 2 of 11
Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 3 of 12



    b. Inadvertent Failure to Designate. An inadvertent failure to designate a document

       as Confidential Information does not, standing alone, waive the right to

       subsequently so designate the document; provided, however, that a failure to serve

       a timely Notice of Designation of deposition testimony as required by this Order at

       Paragraph 4, even if inadvertent, waives any protection for deposition testimony.

       If a party designates a document as Confidential Information after it was initially

       produced, the receiving party, on notification of the designation, must make a

       reasonable effort to assure that the document is treated in accordance with the

       provisions of this Order. No party shall be found to have violated this Order for

       failing to maintain the confidentiality of material during a time when that material

       has not been designated Confidential Information.

    c. Inspection of Materials Prior to Production. In the event that documents, materials

       or other information are made subject to inspection prior to their production, no

       marking of those materials need be made by the producing party at the time of that

       inspection. For purposes of such an inspection, all materials made available for the

       inspection shall be considered Confidential Information and subject to this Order

       at the time of the inspection. Thereafter, if any materials subject to that inspection

       are produced and the producing party wishes those materials to be considered

       Confidential Information under this Order, the producing party shall so designate

       them in accordance with the procedures set forth in this Order.




                                   Page 3 of 11
      Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 4 of 12



             d. Certification by Counsel or Party. The designation of materials as Confidential

                 Information is a certification by an attorney or a party appearing pro se that the

                 document contains Confidential Information as defined in this order.1

    4. Depositions. Deposition testimony is protected by this Order only if two distinct actions

        are taken with respect to that testimony. First, deposition testimony must be designated as

        “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the record at the time the

        testimony is taken. Such designation shall be specific as to the portions that contain

        Confidential Information.           Deposition testimony so designated shall be treated as

        Confidential Information protected by this Order until fourteen (14) days after delivery of

        the transcript by the court reporter to any party or the witness. Second, within fourteen

        (14) days of the delivery of the transcript, a designating party may serve a Notice of

        Designation to all parties of record identifying the specific portions of the transcript that

        are designated Confidential Information, and thereafter those portions identified in the

        Notice of Designation shall be protected under the terms of this Order. The failure to serve

        a timely Notice of Designation waives any designation of deposition testimony as

        Confidential Information that was made on the record of the deposition, unless otherwise

        ordered by the Court.           Likewise, testimony cannot be subsequently designated as

        Confidential Information unless it was specifically so designated on the record during or

        immediately upon completion of the subject deposition.

    5. Protection of Confidential Material.

             a. General Protections. Confidential Information shall not be used or disclosed by the

                 parties, counsel for the parties or any other persons identified in subparagraph (b)


1
  By designating documents as confidential pursuant to this Order, counsel submits to the jurisdiction and authority
of this Court concerning such designations and the enforcement of this Order.

                                                  Page 4 of 11
Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 5 of 12



       for any purpose whatsoever other than in this litigation, which includes any appeal

       thereof.

    b. Limited Third-Party Disclosures. The parties and counsel for the parties shall not

       disclose or permit the disclosure of any Confidential Information to any third

       person or entity except as set forth in subparagraphs (1)-(9) below. Subject to these

       requirements, the following categories of persons may be allowed to review

       Confidential Information: (1) Counsel for the parties and employees of counsel

       who have responsibility for the action; (2) individual parties and officers, directors,

       employees, agents or representatives of a party but only to the extent counsel

       determines in good faith that the employee’s assistance is reasonably necessary to

       the conduct of the litigation in which the information is disclosed; (3) the Court and

       its personnel; (4) court reporters and recorders engaged for depositions and/or

       hearings; (5) those persons specifically engaged for the limited purpose of making

       copies of documents or organizing or processing documents, including outside

       vendors hired to process electronically stored documents; (6) consultants,

       investigators, or experts employed by the parties or counsel for the parties to assist

       in the preparation and trial of this action but only after such persons have completed

       the certification contained in Attachment A (“Acknowledgment of Understanding

       and Agreement to Be Bound by Protective Order”); (7) during their depositions, or

       in preparation for their trial or deposition testimony, witnesses in this action to

       whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

       documents containing Confidential Information, except witnesses may receive a

       copy of all exhibits marked at their depositions in connection with review of the



                                   Page 5 of 11
 Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 6 of 12



          transcripts. Pages of transcribed deposition testimony or exhibits to depositions

          that are designated as Confidential Information pursuant to the process set out in

          this Order must be separately bound by the court reporter and may not be disclosed

          to anyone except as permitted under this Order. (8) The author or recipient of the

          document in the regular course of business (not including a person who received

          the document in the course of litigation); and (9) other persons only by written

          consent of the producing party or upon order of the Court and on such conditions

          as may be agreed upon or ordered.

       c. Control of Documents. Counsel for the parties shall make reasonable efforts to

          prevent unauthorized or inadvertent disclosure of Confidential Information.

          Counsel shall maintain the originals of the forms signed by persons acknowledging

          their obligations under this Order for a period of three (3) years after the termination

          of the case.

6. Filing of Confidential Information. This Order does not, standing alone, authorize the

   filing of any document under seal. Any party wishing to file a document designated as

   Confidential Information in connection with a motion, brief or other submission to the

   Court must move the Court pursuant to Local Rule 5.6 to have such Confidential

   Information filed under seal. If the party who designated the material as Confidential

   Information determines it is not necessary to file the Confidential Information under seal,

   the parties may submit the Confidential Information to the Court without filing under seal.

7. No Greater Protection of Specific Documents. Except on grounds of privilege not

   addressed by this Order, no party may withhold information from discovery on the ground




                                       Page 6 of 11
 Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 7 of 12



   that it requires protection greater than that afforded by this Order unless the party moves

   for an order providing such special protection.

8. Challenges by a Party to Designation as Confidential Information. The designation of

   any material or document as Confidential Information is subject to challenge by any party.

   The following procedure shall apply to any such challenge.

      a. Meet and Confer. A party challenging the designation of Confidential Information

          must do so in good faith and must begin the process by conferring directly with

          counsel for the designating party, or directly with a party who is appearing pro se.

          In conferring, the challenging party must explain the basis for its belief that the

          confidentiality designation was not proper and must give the designating party an

          opportunity to review the designated material, to reconsider the designation, and, if

          no change in designation is offered, to explain the basis for the designation. The

          designating party must respond to the challenge within five (5) business days.

      b. Judicial Intervention. A party who elects to challenge a confidentiality designation

          may file and serve a motion that identifies the challenged material and sets forth in

          detail the basis for the challenge. Each such motion must be accompanied by a

          competent certification that affirms that the movant has complied with the meet-

          and-confer requirements of this Order. The burden of persuasion in any such

          challenge proceeding shall be on the designating party. Until the Court rules on the

          challenge, all parties shall continue to treat the materials as Confidential

          Information under the terms of this Order.

9. Action by the Court. Applications to the Court for an order relating to materials or

   documents designated Confidential Information shall be by motion. Nothing in this Order



                                      Page 7 of 11
 Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 8 of 12



   or any action or agreement of a party under this Order shall limit the Court’s authority to

   make orders concerning the disclosure of documents produced in discovery or at trial.

10. Use of Confidential Documents or Information at Trial. Nothing in this Order shall be

   construed to affect the use of any document, material, or information at any trial or hearing.

   A party who intends to present or who anticipates that another party may present

   Confidential Information at a hearing or trial shall bring that issue to the Court’s and

   parties’ attention by motion or in a pretrial memorandum without disclosing the substance

   of the Confidential Information. The Court may thereafter make such orders as are

   necessary to govern the use of such documents or information at trial.

11. Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

       a. If a receiving party is served with a subpoena or an order issued in other litigation

          or regulatory or criminal investigation that would compel disclosure of any material

          or document designated in this action as Confidential Information, the receiving

          party must so notify the designating party, in writing, immediately and in no event

          more than three (3) court days after receiving the subpoena or order.            Such

          notification must include a copy of the subpoena or court order.

       b. The receiving party also must immediately inform, in writing, the person or entity

          that caused the subpoena or order to issue in the other litigation that some or all of

          the material covered by the subpoena or order is the subject of this Order. In

          addition, the receiving party must deliver a copy of this Order promptly to the party

          in the other action that caused the subpoena to issue.

       c. The purpose of imposing these duties is to alert the issuing person or entity to the

          existence of this Order and to afford the designating party in this case an



                                       Page 8 of 11
 Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 9 of 12



          opportunity to make attempts to protect its Confidential Information in the court

          from which the subpoena or order issued. The designating party shall bear the

          burden and the expense of seeking protection in that court of its Confidential

          Information, and nothing in these provisions should be construed as authorizing or

          encouraging a receiving party in this action to disobey a lawful directive from

          another court. The obligations set forth in this paragraph remain in effect while the

          party has in its possession, custody or control Confidential Information by the other

          party to this case.

12. Obligations upon Conclusion of Litigation.

      a. Order Continues in Force. Unless otherwise agreed upon or ordered, this Order

          shall remain in force after dismissal or entry of final judgment not subject to further

          appeal.

      b. Obligations upon Conclusion of Litigation. Within sixty (60) days after dismissal

          or entry of final judgment not subject to further appeal, the producing party may

          make demand upon the receiving party for return or destruction of all materials

          considered Confidential Information under this Order, including “copies” as

          defined above. No party shall have any obligation to return or destroy Confidential

          Information if such a demand is not timely made. Where the demand for return or

          destruction is timely made, the subject documents shall be returned to the producing

          party unless: (1) the document has been offered into evidence or filed without

          restriction as to disclosure; (2) the parties agree to destruction to the extent

          practicable in lieu of return; or (3) as to documents bearing the notations,

          summations, or other mental impressions of the receiving party (i.e., attorney work



                                      Page 9 of 11
Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 10 of 12



        product), that party elects to destroy the documents and certifies to the producing

        party that it has done so; or (4) to the extent retention is required by other laws,

        rules or regulations, including those of the Louisiana State Bar Association and

        Louisiana Supreme Court. The parties may choose to agree that the receiving party

        shall destroy documents containing Confidential Information and certify the fact of

        destruction, and that the receiving party shall not be required to locate, isolate and

        return e-mails (including attachments to e-mails) that may include Confidential

        Information or Confidential Information contained in deposition transcripts or

        drafts or final expert reports.

     c. Retention of Work Product and One Set of Filed Documents. Notwithstanding the

        above requirements to return or destroy documents, counsel may retain: (1)

        attorney work product, including an index that refers or relates to designated

        Confidential Information, so long as that work product does not duplicate verbatim

        substantial portions of Confidential Information, and (2) one complete set of all

        documents filed with the Court including those filed under seal. Any retained

        Confidential Information shall continue to be protected under this Order. An

        attorney may use his or her own work product in subsequent litigation, provided

        that its use does not disclose or use Confidential Information or otherwise violate

        this Order.

     d. Deletion of Documents Filed under Seal from Electronic Case Filing (ECF)

        System. Filings under seal shall be deleted from the ECF system only upon order

        of the Court.




                                     Page 10 of 11
Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 11 of 12



13. Order Subject to Modification. This Order shall be subject to modification by the Court

   on its own initiative or on motion of a party or any other person with standing concerning

   the subject matter.

14. No Prior Judicial Determination. This Order is entered based on the representations and

   agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

   be construed or presented as a judicial determination that any document or material

   designated Confidential Information by counsel or the parties is entitled to protection under

   Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court

   may rule on a specific document or issue.

15. Persons Bound. This Order shall take effect when entered and shall be binding upon all

   counsel of record and their law firms, the parties, and persons made subject to this Order

   by its terms.

       New Orleans,
       New Orleans, Louisiana,
                    Louisiana this
                               this 10thday
                                         dayofof April, 2019.                   , 2019.



                                         __________________________________
                                             United StatesCOURT
                                         HONORABLE         Magistrate Judge




                                      Page 11 of 11
Case 2:18-cv-11263-MLCF-JVM Document 33 Filed 04/10/19 Page 12 of 12



                                    ATTACHMENT A

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

   The undersigned hereby acknowledges that he/she has read the Protective Order dated

____________________________ in the above-captioned action and attached hereto,

understands the terms thereof and agrees to be bound by those terms. The undersigned submits

to the jurisdiction of the United States District Court for the Eastern District of Louisiana in

matters relating to the aforementioned and attached Protective Order and understands that the

terms of the Order obligate him/her to use materials designated as Confidential Information in

accordance with the Order solely for the purposes of the above-captioned action, and not to

disclose any such Confidential Information to any other person, firm or concern. The

undersigned acknowledges that violation of the Protective Order may result in penalties for

contempt of court.

Name (printed):            ______________________________________

Job Title:                 ______________________________________

Employer:                  ______________________________________

Business Address:          ______________________________________

                           ______________________________________

Date:                      ______________________________________

Signature:                 ______________________________________




                                        Page 1 of 1
